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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   (Alexandria Division)

  BOARD OF TRUSTEES SHEET METAL                   )
  WORKERS’ NATIONAL PENSION FUND,                 )
  et al.,                                         )
                                                  )
           Plaintiffs,                            ) Case No. 1:22-cv-1294-PTG-WEF
                                                  )
  v.                                              )
                                                  )
  NEW YORK CHUTES, LLC,                           )
                                                  )
           Defendant.                             )
                                                  )

                           DEFENDANT’S MOTION TO DISMISS

        Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant New York

 Chutes, LLC (“NY Chutes”), by counsel, hereby moves for an order dismissing with prejudice

 Plaintiff’s Second Amended Complaint for the reasons stated in the concurrently filed

 Memorandum in Support.



 Dated: January 9, 2024                           Respectfully submitted,

                                                       /s/ Micah E. Ticatch
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of January 2024, I electronically filed the foregoing

 with the Clerk of the U.S. District Court for the Eastern District of Virginia using the CM/ECF

 system, which automatically sends the foregoing via email to:


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